                  Case 2:10-cr-00223-JAM Document 140 Filed 04/13/11 Page 1 of 1



                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA


         UNITED STATES OF AMERICA                       )        Case No. 2:10-CR-10-00223 JAM
                                                        )
                Plaintiff,                              )
                                                        )
                                                        )        ORDER ADDING SPECIAL
         vs.                                            )        CONDITION OF RELEASE
                                                        )
                                                        )
          CHARLES ROBERT MANESS, et al.,                )
              Defendant.                                )
                                                        )

         _____________________________________
                Based on the stipulation by and between Assistant U.S. Attorney Philip A. Ferrari, Esq.,
         attorney for the United States and Donald H. Heller, Esq., attorney for the defendant Charles
         Robert Maness, which was based on the recommendation of U.S. Pretrial Services Officer Renee
         Basurto, the following additional condition of release is added to the 11 ordered conditions of
         release of the defendant Charles Robert Maness:
                12) You shall participate in a program of medical or psychiatric treatment, including
         treatment for drug or alcohol dependency, as approved by the pretrial services officer.
                It is so ordered.


         Dated: April 12, 2011                                       /s/ John A. Mendez_______
                                                                     John A. Mendez
                                                                     United States District Judge




PDF created with pdfFactory trial version www.pdffactory.com
